     Case 4:19-cv-07123-PJH        Document 514-3   Filed 01/09/25   Page 1 of 2




 1   Greg D. Andres
     Antonio J. Perez-Marques
 2   Gina Cora
     Craig T. Cagney
 3
     Luca Marzorati
 4     (admitted pro hac vice)
     DAVIS POLK & WARDWELL LLP
 5   450 Lexington Avenue
     New York, New York 10017
 6   Telephone: (212) 450-4000
     Facsimile: (212) 701-5800
 7
     Email: greg.andres@davispolk.com
 8            antonio.perez@davispolk.com
              gina.cora@davispolk.com
 9            craig.cagney@davispolk.com
              luca.marzorati@davispolk.com
10
     Micah G. Block (SBN 270712)
11   DAVIS POLK & WARDWELL LLP
12   900 Middlefield Road, Suite 200
     Redwood City, CA 94063
13   Telephone: (650) 752-2000
     Facsimile: (650) 752-2111
14   Email:      micah.block@davispolk.com

15   Attorneys for Plaintiffs WhatsApp LLC and
     Meta Platforms, Inc.
16

17                               UNITED STATES DISTRICT COURT

18                       FOR THE NORTHERN DISTRICT OF CALIFORNIA

19                                       OAKLAND DIVISION

20    WHATSAPP LLC, and                 )
      META PLATFORMS INC.,              )           Case No. 4:19-cv-07123-PJH
21                                      )
                                        )           [PROPOSED] ORDER GRANTING
22                    Plaintiffs,       )           PLAINTIFFS’ MOTION TO EXCLUDE
                                        )           THE EXPERT TESTIMONY OF
23           v.                         )           TERRENCE MCGRAW
                                        )
24    NSO GROUP TECHNOLOGIES LIMITED )
      and Q CYBER TECHNOLOGIES LIMITED, )
25                                      )
                                        )
26                    Defendants.       )
                                        )
27

28
      Case 4:19-cv-07123-PJH         Document 514-3       Filed 01/09/25     Page 2 of 2




 1          Having considered the Motion to Exclude the Expert Testimony of Terrence McGraw filed

 2   by Plaintiffs Meta Platforms, Inc. and WhatsApp LLC,

 3          IT IS HEREBY ORDERED that Plaintiffs’ Motion to Exclude the Expert Testimony of

 4   Terrence McGraw is GRANTED.

 5

 6   IT IS SO ORDERED.
 7

 8     Dated:
                                                   THE HONORABLE PHYLLIS J. HAMILTON
 9                                                 U.S. DISTRICT JUDGE
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                                     1
     [PROPOSED] ORDER GRANTING PLAINTIFFS’ MOTION TO EXCLUDE THE EXPERT TESTIMONY OF TERRENCE MCGRAW
     CASE NO. 4:19-CV-07123-PJH
